EXHIBIT A
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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA         )
                                 )
            v.                   )        Crim. No.13-10200-GAO
                                 )
DZHOKHAR A. TSARNAEV,            )
               Defendant         )


           NOTICE OF INTENT TO SEEK THE DEATH PENALTY

     The United States of America, by and through its

undersigned counsel and pursuant to 18 U.S.C. § 3593(a),

notifies the Court and Defendant DZHOKHAR TSARNAEV that the

United States believes the circumstances of the offenses charged

in Counts One through Ten and Counts Twelve through Eighteen of

the Indictment are such that, in the event of a conviction, a

sentence of death is justified under Chapter 228 (Sections 3591

through 3598) of Title 18 of the United States Code, and that

the United States will seek the sentence of death for these

offenses: Conspiracy to Use A Weapon of Mass Destruction

Resulting in Death; Use of A Weapon of Mass Destruction

Resulting in Death; Possession and Use of a Firearm During and

in Relation to a Crime of Violence Resulting in Death;

Conspiracy to Bomb a Place of Public Use Resulting in Death;

Bombing of a Place of Public Use Resulting in Death; and

Malicious Destruction of Property Resulting in Personal Injury

and Death, all of which carry a possible sentence of death.
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     The United States proposes to prove the following factors

as justifying a sentence of death with regard to Counts One

through Ten and Counts Twelve through Eighteen (except where

other Counts are specified):

     A.   DZHOKHAR TSARNAEV was 18 years of age or older at the

time of the offense.

     B. Statutory Threshold Factors Enumerated under 18 U.S.C.

§ 3591(a)(2)(A)-(D).

     1. Intentional Killing.     DZHOKHAR TSARNAEV intentionally

     killed Krystle Marie Campbell (Counts One, Two, Three, Six,

     Seven, Eight, Twelve, and Thirteen), Martin Richard (Counts

     One, Four, Five, Six, Nine, Ten, Fourteen, and Fifteen),

     Lingzi Lu (Counts One, Four, Five, Six, Nine, Ten,

     Fourteen, and Fifteen), and Officer Sean Collier (Counts

     One, Six, Sixteen, Seventeen, and Eighteen).        18 U.S.C. §

     3591(a)(2)(A).

     2. Intentional Infliction of Serious Bodily Injury.

     DZHOKHAR TSARNAEV intentionally inflicted serious bodily

     injury that resulted in the deaths of Krystle Marie

     Campbell (Counts One, Two, Three, Six, Seven, Eight,

     Twelve, and Thirteen), Martin Richard (Counts One, Four,

     Five, Six, Nine, Ten, Fourteen, and Fifteen), Lingzi Lu

     (Counts One, Four, Five, Six, Nine, Ten, Fourteen, and

     Fifteen), and Officer Sean Collier (Counts One, Six,

                                   2
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Sixteen, Seventeen, and Eighteen).       18 U.S.C. §

3591(a)(2)(B).

3. Intentional Participation in Acts Resulting in Death.

DZHOKHAR TSARNAEV intentionally participated in acts

contemplating that the life of a person or persons would be

taken and intending that lethal force would be used in

connection with a person or persons, other than one of the

participants in the offense, and Krystle Marie Campbell

(Counts One, Two, Three, Six, Seven, Eight, Twelve, and

Thirteen); Martin Richard (Counts One, Four, Five, Six,

Nine, Ten, Fourteen, and Fifteen); Lingzi Lu (Counts One,

Four, Five, Six, Nine, Ten, Fourteen, and Fifteen); and

Officer Sean Collier (Counts One, Six, Sixteen, Seventeen,

and Eighteen) died as a direct result of the acts.          18

U.S.C § 3591(a)(2)(C).

4. Intentional Engagement in Acts of Violence, Knowing that

the Acts Created a Grave Risk of Death to a Person.

DZHOKHAR TSARNAEV intentionally and specifically engaged in

acts of violence, knowing that the acts created a grave

risk of death to a person or persons, other than one of the

participants in the offense, such that the participation in

the acts constituted a reckless disregard for human life,

and Krystle Marie Campbell (Counts One, Two, Three, Six,

Seven, Eight, Twelve, and Thirteen), Martin Richard (Counts

                              3
     Case 1:13-cr-10200-GAO Document 167 Filed 01/30/14 Page 4 of 8



     One, Four, Five, Six, Nine, Ten, Fourteen, and Fifteen),

     Lingzi Lu (Counts One, Four, Five, Six, Nine, Ten,

     Fourteen, and Fifteen), and Officer Sean Collier (Counts

     One, Six, Sixteen, Seventeen, and Eighteen) died as a

     direct result of the acts.        18 U.S.C § 3591(a)(2)(D).

    C. Statutory Aggravating Factors Enumerated under 18 U.S.C.

§ 3592(c).

    1. Death During Commission of Another Crime.        The death, and

    injury resulting in death, occurred during the commission

    and attempted commission of, and during the immediate flight

    from the commission of, an offense under (1) 18 U.S.C. §

    2332a (use of a weapon of mass destruction)(Counts One

    through Ten and Twelve through Eighteen) and (2) 18 U.S.C. §

    844(i) (destruction of property affecting interstate

    commerce by explosives)(Counts One through Ten and Twelve

    through Fifteen).    18 U.S.C. § 3592(c)(1).

     2. Grave Risk of Death to Additional Persons.        DZHOKHAR

     TSARNAEV knowingly created a grave risk of death to one or

     more persons in addition to the victim of the offense in

     the commission of the offense and in escaping apprehension

     for the violation of the offense.       18 U.S.C. § 3592(c)(5).

     3. Heinous, Cruel and Depraved Manner of Committing the

     Offense.   DZHOKHAR TSARNAEV committed the offense in an

     especially heinous, cruel and depraved manner in that it

                                   4
     Case 1:13-cr-10200-GAO Document 167 Filed 01/30/14 Page 5 of 8



     involved serious physical abuse to the victim (Counts One

     through Ten and Twelve through Fifteen).       18 U.S.C. §

     3592(c)(6).

     4. Substantial Planning and Premeditation.        DZHOKHAR

     TSARNAEV committed the offense after substantial

     planning and premeditation to cause the death of a

     person and commit an act of terrorism (Counts One

     through Ten and Twelve through Fifteen).       18 U.S.C. §

     3592(c)(9).

     5. Multiple Killings.    DZHOKHAR TSARNAEV intentionally

     killed and attempted to kill more than one person in a

     single criminal episode (Counts One through Ten and

     Twelve through Fifteen).     18 U.S.C. § 3592(c)(16).

     6. Vulnerable Victim.    DZHOKHAR TSARNAEV is

     responsible for the death of a victim, Martin Richard,

     who was particularly vulnerable due to youth (Counts

     One, Four, Five, Six, Nine, Ten, Fourteen, and

     Fifteen).   18 U.S.C. § 3592(c)(11).

     D. Non-Statutory Aggravating Factors Identified under

18 U.S.C. § 3593(a)(2).

     1. Betrayal of the United States.      DZHOKHAR TSARNAEV

     received asylum from the United States; obtained

     citizenship and enjoyed the freedoms of a United States

     citizen; and then betrayed his allegiance to the United

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States by killing and maiming people in the United States.

2. Encouragement of Others to Commit Acts of Violence and

Terrorism.   In conjunction with committing acts of violence

and terrorism, DZHOKHAR TASARNAEV made statements

suggesting that others would be justified in committing

additional acts of violence and terrorism against the

United States.

3. Victim Impact.    DZHOKHAR TSARNAEV caused injury, harm

and loss to Krystle Marie Campbell and her family and

friends (Counts One, Two, Three, Six, Seven, Eight, Twelve,

and Thirteen); to Martin Richard and his family and friends

(Counts One, Four, Five, Six, Nine, Ten, Fourteen, and

Fifteen); to Lingzi Lu and her family and friends (Counts

One, Four, Five, Six, Nine, Ten, Fourteen, and Fifteen),

and to Officer Sean Collier and his family and friends

(Counts One, Six, Sixteen, Seventeen, and Eighteen).         The

injury, harm and loss caused by DZHOKHAR TSARNAEV with

respect to each victim is evidenced by the victim’s

personal characteristics and by the impact of the victim’s

death upon his or her family and friends.

4.   Selection of Site for Acts of Terrorism. DZHOKHAR

TSARNAEV targeted the Boston Marathon, an iconic event that

draws large crowds of men, women and children to its final

stretch, making it especially susceptible to the act and

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effects of terrorism (Counts One through Ten and Counts

Twelve through Fifteen).

5. Lack of Remorse.    DZHOKHAR TSARNAEV demonstrated a lack

of remorse.

6. Status of Victim.    DZHOKHAR TSARNAEV murdered Officer

Sean Collier, a law enforcement officer who was engaged in

the performance of his official duties at the time of his

death (Counts One, Six, Sixteen, Seventeen, and Eighteen).

7. Participation in Additional Uncharged Crimes of

Violence.    DZHOKHAR TSARNAEV participated in additional

uncharged crimes of violence, including assault with a

dangerous weapon, assault with intent to maim, mayhem, and

attempted murder, on April 15, 2013 in Boston,

Massachusetts (Counts One through Ten and Twelve through

Fifteen) and on or about April 19, 2013 in Watertown,

Massachusetts (Counts One through Ten and Twelve through

Eighteen).


                            Respectfully submitted,
                            CARMEN M. ORTIZ
                            United States Attorney

                            By:
                            /s/Nadine Pellegrini
                            NADINE PELLEGRINI
                            WILLIAM D. WEINREB
                            ALOKE S. CHAKRAVARTY
                            Assistant U.S. Attorneys



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                       CERTIFICATE OF SERVICE


     I hereby certify that this document filed through the ECF
system will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing
(NEF)

                                       /s/Nadine Pellegrini
                                       Nadine Pellegrini
                                       Assistant United States
                                       Attorney


Date: January 30, 2014




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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA
                         CHARLESTON DIVISION


UNITED STATES OF AMERICA                CR. NO.: 2:15-cr-00472-RMG


v.


DYLANN STORM ROOF



            NOTICE OF INTENT TO SEEK THE DEATH PENALTY

      The   United       States    of    America,     by    and    through       its

undersigned counsel and pursuant to 18 U.S.C. § 3593(a),

notifies the Court and Defendant DYLANN STORM ROOF that the

United States believes the circumstances of the offenses

charged in Counts 13-21 and 25-33 of the Indictment are

such that, in the event of a conviction, a sentence of

death is justified under Chapter 228 (Section 3591 through

3598) of Title 18 of the United States Code, and that the

United States will seek the sentence of death for these

offenses:     Obstruction         of    Exercise    of     Religion   by   Force

Resulting in Death and Use of a Firearm to Commit Murder

During and In Relation to a Crime of Violence, all of which

carry a possible sentence of death.



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    The    United      States    proposes          to   prove    the     following

factors as justifying a sentence of death with regard to

Counts    13-21   and    25-33    (except          where      other    Counts       are

specified):

    (A) DYLANN STORM ROOF was 18 years of age or older at

           the time of the offense.

    (B) Statutory        Threshold          Factors     Enumerated       under      18

           U.S.C. § 3591(a)(2)(A)-(D).

           (1) Intentional          Killing.            DYLANN        STORM     ROOF

                  intentionally             killed       Reverend         Sharonda

                  Coleman-Singleton,               Cynthia        Hurd,        Susie

                  Jackson,      Ethel       Lee    Lance,     Reverend        DePayne

                  Middleton-Doctor, Reverend Clementa Pinckney,

                  Tywanza Sanders, Reverend Daniel Simmons, Sr.,

                  and Myra Thompson. 18 U.S.C. § 3591(a)(2)(A).

           (2) Intentional         Infliction            of     Serious       Bodily

                  Injury.       DYLANN       STORM       ROOF        intentionally

                  inflicted serious bodily injury that resulted

                  in the deaths of Reverend Sharonda Coleman-

                  Singleton, Cynthia Hurd, Susie Jackson, Ethel

                  Lee Lance, Reverend DePayne Middleton-Doctor,

                  Reverend Clementa Pinckney, Tywanza Sanders,

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             Reverend          Daniel         Simmons,       Sr.,       and     Myra

             Thompson. 18 U.S.C. § 3591(a)(2)(B).

       (3) Intentional Participation in Acts Resulting in

             Death.        DYLANN           STORM       ROOF      intentionally

             participated in an act, contemplating that the

             life of a person would be taken and intending

             that lethal force would be used in connection

             with     a        person,        other     than      one     of      the

             participants             in    the      offense,     and    Reverend

             Sharonda          Coleman-Singleton,               Cynthia        Hurd,

             Susie     Jackson,             Ethel     Lee    Lance,      Reverend

             DePayne       Middleton-Doctor,                Reverend     Clementa

             Pinckney,          Tywanza       Sanders,        Reverend        Daniel

             Simmons,          Sr.,    and     Myra    Thompson      died      as   a

             direct       result       of     such    action.     18    U.S.C.      §

             3591(a)(2)(C).

       (4) Intentional Engagement in Acts of Violence,

             Knowing that the Acts Created a Grave Risk of

             Death        to     a         Person.     DYLANN       STORM       ROOF

             intentionally and specifically engaged in an

             act of violence, knowing that the act created

             a grave risk of death to a person, other than

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             one of the participants in the offense, such

             that participation in the act constituted a

             reckless disregard for human life and Reverend

             Sharonda       Coleman-Singleton,             Cynthia       Hurd,

             Susie     Jackson,        Ethel      Lee    Lance,       Reverend

             DePayne      Middleton-Doctor,             Reverend      Clementa

             Pinckney,       Tywanza       Sanders,       Reverend      Daniel

             Simmons,      Sr.,    and     Myra     Thompson     died    as    a

             direct     result     of      such   action.       18   U.S.C.    §

             3591(a)(2)(D).

 (C) Statutory Aggravating Factors Enumerated under 18

       U.S.C. § 3592(c).

       (1) Multiple         Killings.        DYLANN      STORM       ROOF,     in

             committing the offenses in Counts 13-21 and

             25-33, intentionally killed and attempted to

             kill more than one person in a single criminal

             episode. 18 U.S.C. § 3592(c)(16).

       (2) Substantial Planning and Premeditation. DYLANN

             STORM ROOF committed the offenses charged in

             Counts      13-21     and      25-33       after    substantial

             planning and premeditation to cause the death

             of a person. 18 U.S.C. § 3592(c)(9).

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       (3) Vulnerable Victim. DYLANN STORM ROOF committed

             the offenses in Counts 15 and 27 (for killing

             Susie Jackson who was eighty-seven years old),

             Counts 16 and 28 (for killing Ethel Lee Lance,

             who was seventy years old), and Counts 20 and

             32 (for killing Reverend Daniel Simmons, Sr.,

             who was seventy-four years old) on victims who

             were particularly vulnerable due to old age.

             18 U.S.C. § 3592(c)(11).

 (D) Non-Statutory Aggravating Factors Identified under

       18 U.S.C. § 3593(a)(2).

       (1) Attempt       to   Incite       Violence.      In    preparation

             for, in committing, and subsequent to the acts

             of violence, the Defendant attempted to incite

             violent action by others.

       (2) Victim       Impact.       DYLANN      STORM        ROOF    caused

             injury, harm, and loss to the individuals that

             he killed as well as to the family, friends,

             and    co-workers        of    those    individuals.             The

             injury, harm, and loss caused by DYLANN STORM

             ROOF with respect to each victim is evidenced

             by the victim’s personal characteristics and

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             by the impact of the victim’s death upon his

             or her family, friends, and co-workers.

       (3) Endangering the Safety of Others. DYLANN STORM

             ROOF   endangered          the     safety      of   one    or    more

             persons    in    addition          to    the     victims    of     the

             murders     charged         in     the     Indictment       in     the

             commission of these offenses.

       (4) Racially Motivated Killing. DYLANN STORM ROOF

             has    expressed        hatred       and       contempt     towards

             African Americans, as well as other groups,

             and his animosity towards African Americans

             played a role in the murders charged in the

             Indictment.

       (5) Selection         of     Victims.          DYLANN      STORM       ROOF

             targeted       men    and    women        participating          in   a

             Bible-study group at the Emanuel AME Church in

             order to magnify the societal impact of the

             offenses charged in the Indictment.

       (6) Lack        of         Remorse.           DYLANN      STORM        ROOF

             demonstrated a lack of remorse.




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                                   Respectfully submitted,


                                   s/ Julius N. Richardson
                                   JULIUS N. RICHARDSON (ID #9823)
                                   NATHAN WILLIAMS
                                   Assistant United States
                                   Attorneys
                                   1441 Main Street, Suite 500
                                   Columbia, SC 29201
May 24, 2016                       (803) 929-3000




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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      )
                                              )
                v.                            )       Criminal No. 18-292
                                              )
ROBERT BOWERS                                 )

                     NOTICE OF INTENT TO SEEK THE DEATH PENALTY

         The United States of America, through undersigned counsel and pursuant to 18 U.S.C.

§ 3593(a), notifies the Court and defendant ROBERT BOWERS that the United States believes

the circumstances in Counts One through Eleven and Twenty-Three through Thirty-Three of the

Superseding Indictment, Doc. No. 44, are such that, in the event of a conviction, a sentence of

death is justified under 18 U.S.C. §§ 3591-3598, and that the United States will seek the sentence

of death for these offenses: Obstruction of Free Exercise of Religious Beliefs Resulting in Death

(Counts One through Eleven) and Use and Discharge of a Firearm to Commit Murder During and

in Relation to a Crime of Violence and Possession of a Firearm in Furtherance of a Crime of

Violence (Counts Twenty-Three through Thirty-Three), all of which carry a possible sentence of

death.

         The United States proposes to prove the following factors as justifying a sentence of death

with regard to Counts One through Eleven and Twenty-Three through Thirty-Three as specified

below:

         (A)    ROBERT BOWERS was 18 years of age or older at the time of the offense.

                (Counts One through Eleven and Twenty-Three through Thirty-Three).

         (B)    Statutory Threshold Factors Enumerated Under 18 U.S.C. § 3591(a)(2)(A)-(D):

                1. Intentional Killing.     ROBERT BOWERS intentionally killed J.F., R.G.,

                      R.M., J.R., C.R., D.R., B.S., S.S., D.S., M.W., and I.Y.          18 U.S.C.
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       § 3591(a)(2)(A). (Counts One through Eleven and Twenty-Three through

       Thirty-Three).

    2. Intentional Infliction of Serious Bodily Injury.            ROBERT BOWERS

       intentionally inflicted serious bodily injury that resulted in the deaths of J.F.,

       R.G., R.M., J.R., C.R., D.R., B.S., S.S., D.S., M.W., and I.Y. 18 U.S.C.

       § 3591(a)(2)(B).    (Counts One through Eleven and Twenty-Three through

       Thirty-Three).

    3. Intentional Participation in an Act Resulting in Death.                 ROBERT

       BOWERS intentionally participated in an act, contemplating that the life of a

       person would be taken and intending that lethal force would be used in

       connection with a person, other than one of the participants in the offense, and

       J.F., R.G., R.M., J.R., C.R., D.R., B.S., S.S., D.S., M.W., and I.Y. died as a

       direct result of the act. 18 U.S.C. § 3591(a)(2)(C). (Counts One through

       Eleven and Twenty-Three through Thirty-Three).

    4. Intentional Engagement in an Act of Violence, Knowing that the Act

       Created a Grave Risk of Death to a Person.                  ROBERT BOWERS

       intentionally and specifically engaged in an act of violence, knowing that the

       act created a grave risk of death to a person, other than one of the participants

       in the offense, such that the participation in the act constituted a reckless

       disregard for human life, and J.F., R.G., R.M., J.R., C.R., D.R., B.S., S.S., D.S.,

       M.W., and I.Y. died as a direct result of the act. 18 U.S.C. § 3591(a)(2)(D).

       (Counts One through Eleven and Twenty-Three through Thirty-Three).




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(C)   Statutory Aggravating Factors Enumerated Under 18 U.S.C. § 3592(c):

      1. Grave Risk of Death to Additional Persons. ROBERT BOWERS, in the

         commission of the offense, and in escaping apprehension for the violation of

         the offense, knowingly created a grave risk of death to one or more persons in

         addition to the victim of the offense, to include responding public safety officers

         A.B., J.C., J.G., J.H., T.M., D.M., A.M., J.P., J.R., M.S., M.S.2 and C.T. 18

         U.S.C. § 3592(c)(5). (Counts One through Eleven and Twenty-Three through

         Thirty-Three).

      2. Substantial Planning and Premeditation. ROBERT BOWERS committed

         the offense after substantial planning and premeditation to cause the death of a

         person. 18 U.S.C. § 3592(c)(9). (Counts One through Eleven and Twenty-

         Three through Thirty-Three).

      3. Vulnerable Victims. ROBERT BOWERS committed the offense against a

         victim who was particularly vulnerable due to old age (Counts One, Three,

         Seven through Ten, Twenty-Three, Twenty-Five, and Twenty-Nine through

         Thirty-Two) and infirmity (Counts Five, Six, Twenty-Seven, and Twenty-

         Eight). 18 U.S.C. § 3592(c)(11).

      4. Multiple Killings or Attempted Killings. ROBERT BOWERS intentionally

         killed and attempted to kill more than one person in a single criminal episode.

         18 U.S.C. § 3592(c)(16). (Counts One through Eleven and Twenty-Three

         through Thirty-Three).

(D)   Non-Statutory Aggravating Factors Identified Under 18 U.S.C. § 3593(a)(2):

      1. Victim Impact. ROBERT BOWERS caused injury, harm, and loss to J.F.,

         R.G., R.M., J.R., C.R., D.R., B.S., S.S., D.S., M.W., and I.Y., as well as to the
                                        3
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       family, friends, and co-workers of those individuals. The injury, harm, and

       loss caused by ROBERT BOWERS with respect to each deceased victim is

       evidenced by the victim’s personal characteristics and by the impact of the

       victim’s death upon his or her family, friends, associates, and co-workers.

       (Counts One through Eleven and Twenty-Three through Thirty-Three).

    2. Killings Motivated by Religious Animus. ROBERT BOWERS expressed

       hatred and contempt toward members of the Jewish faith and his animus toward

       members of the Jewish faith played a role in the killings of J.F., R.G., R.M.,

       J.R., C.R., D.R., B.S., S.S., D.S., M.W., and I.Y. (Counts One through Eleven

       and Twenty-Three through Thirty-Three).

    3. Selection of Site. ROBERT BOWERS targeted men and women participating

       in Jewish religious worship at the Tree of Life Synagogue, located in the

       Squirrel Hill neighborhood of Pittsburgh, Pennsylvania, which is home to one

       of the largest and oldest urban Jewish populations in the United States, in order

       to maximize the devastation, amplify the harm of his crimes, and instill fear

       within the local, national, and international Jewish communities. (Counts One

       through Eleven and Twenty-Three through Thirty-Three).

    4. Lack of Remorse. ROBERT BOWERS has demonstrated a lack of remorse

       for the offenses charged in the Superseding Indictment, as evidenced by his

       statements and actions during the course of and following the commission of

       the offenses. (Counts One through Eleven and Twenty-Three through Thirty-

       Three).

    5. Injury to Surviving Victims. ROBERT BOWERS caused serious physical

       and emotional injury, including maiming, disfigurement, permanent disability,
                                     4
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      severe psychological impacts, and grievous economic hardship        to individuals

      who survived the offense, to include:   l) physically injured civilian survivors,
      D.L. and A.W.; 2) otherwise injured civilian survivors, C.8., D.D., J.C., L.F.,

      A.G., M.G., J.M., J.P., D.R.2, A.S., J.S., S.W., and B.W.; 3) physically injured

      law enforcement survfvors, A.B., T.M., D.M., J.P. and M.S.; and 4) otherwise

      injured law enforcement survivors, J.C., J.G., J.H., A.M., J.R., M.S.2, and C.T.

      (Counts One through Eleven and Twenty-Three through Thirty-Three).

                                                Respectfully submitted,

                                                SCOTT W. BRADY
                                                United States Attorney

                                                ERIC S. DREIBAND
                                                Assistant Attomey General



                                                ffi
                                                Civil Rights Division


                                                rRoaflfEiil
                                                Assistant U.S. Attomey
                                                PA ID No. 56816


                                                SOO C. SONG
                                                Assistant U.S. Attomey
                                                DC ID No.


                                                        G
                                                        Li         Counsel
                                                Civil Rights Division
                                                NY ID No. 4949475




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EXHIBIT B
USCA4 Appeal: 17-3   Doc: 85        Filed: 01/28/2020   Pg: 1 of 321




                                           No. 17-3
                                  _________________________

                     IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FOURTH CIRCUIT
                              _________________________

                               UNITED STATES OF AMERICA,
                                           Plaintiff/Appellee,

                                                v.

                                  DYLANN STORM ROOF,
                                         Defendant/Appellant.
                                  _________________________

                    On Appeal from the United States District Court
                 for the District of South Carolina, Charleston Division
                           (The Honorable Richard M. Gergel)
                                  _________________________

                                  BRIEF OF APPELLANT
                                   _________________________


         AMY M. KARLIN                            JAMES WYDA
         Interim Federal Public Defender          Federal Public Defender
         ALEXANDRA W. YATES                       SAPNA MIRCHANDANI
         Deputy Federal Public Defender           Assistant Federal Public Defender
         321 East 2nd Street                      6411 Ivy Lane, Suite 710
         Los Angeles, CA 90012                    Greenbelt, MD 20770
         (213) 894-2854 (tel.)                    (301) 344-0600 (tel.)
         (213) 894-0081 (fax)                     (301) 344-0019 (fax)
         Amy_Karlin@fd.org                        James_Wyda@fd.org
         Alexandra_Yates@fd.org                   Sapna_Mirchandani@fd.org

                                                                  Counsel for Appellant
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                                                 U.S. Department of Justice
                                                 United States Attorney
                                                 Northern District of California

                                               11th Floor, Federal Building             (415) 436-7200
                                               450 Golden Gate Ave., Box 36055
                                               San Francisco, CA 94102-3495        Fax: (415) 436-7234

                                                 October 9, 2020

VIA EMAIL
Richard Novak, Esq.
Shaffy Moeel, Esq.




Counsel for Justus


                Re:   United States v. Robert Alvin Justus, Jr.
                      20-CR-00265-YGR-2

Dear Counsel:

        Pursuant to your request for discovery, I am sharing with you electronically a link from
USAfx that contains the below discovery. Please maintain this discovery pursuant to the terms
of the parties’ agreed-upon Stipulated Protective Order, as we have previously discussed.

     Beg. Bates       End Bates       General Description of Contents
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     US-0000999       US-0000999      FD-302 Report    re Information received from US
                                      Army CID
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                          Oakland Police Department
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US-0001093   US-0001094   FD-302 Report re Interview of
US-0001095   US-0001098   FD-302 Report re Interview of
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US-1000091   US-1000094   FEO         Firearms Report Signed
US-1000095   US-1000116   NIBIN/IBIS Ballistics Report
                          2000000 Series - SC Reports
US-2000207   US-2000213              Autopsy Report
US-2000214   US-2000215   SCSO Correspondence re Ben Lomond Videos and
                          Images
                          3000000 Series – OPD Reports
US-3000130   US-3000130   OPD Incident Recall CAD
US-3000131   US-3000133   OPD Incident Recall CAD
US-3000134   US-3000136   CAD Report
                          5000000 Series – Photographs
US-5004559   US-5004564   Selected Justus Cellphone Images and Information
                          (Messages)
US-5004565   US-5004587   Selected Justus Cellphone Images and Information
                          (Phone Photos)
US-5004588   US-5004854   Selected Justus Cellphone Images and Information
                          (FB Screenshots)
US-5004855   US-5004862   Photographs of Individuals Shown to           68
                          2020
US-5004863   US-5004938   Drone Photos 6-7-2020
US-5004939   US-5004944   SCSO Aerial Imagery

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Beg. Bates   End Bates    General Description of Contents
                          7000000 Series - Search Warrants
US-7002102   US-7002103   Exigent Request Email - ATT
US-7002104   US-7002106   Exigent Request Form - ATT
US-7002107   US-7002108   Exigent Request Form - Sprint
US-7002109   US-7002109   Exigent Request Email - Sprint
US-7002110   US-7002110   Exigent Request Form - T-Mobile
US-7002111   US-7002111   Exigent Request Form - T-Mobile
US-7002112   US-7002112   Exigent Request Email - T-Mobile
US-7002113   US-7002117   Exigent Request Email - Verizon
US-7002118   US-7002119   Exigent Request Form - Verizon
US-7002120   US-7002121   Exigent Request Email - Verizon
US-7002122   US-7002164   20-mj-70960-DMR Carrillo_Snapchat SW FILED
US-7002165   US-7002207   2020.07.07 Carrillo Justus_Gmail Search Warrant
                          FILED 20-mj-70912-DMR
US-7002208   US-7002250   2020.07.09 Justus T-Mobile Search Warrant FILED
                          4 20-mj-70924-DMR
US-7002251   US-7002258   2020-06-12 Carrillo FB warrant 3-20-70776 767-1
US-7002259   US-7002295   2020-06-12 Carrillo FB warrant app 3-20-70776 767-
                          main
US-7002296   US-7002297   2020-06-12 Carrillo FB warrant Sealing Motion 3-
                          20-70776 767-2
US-7002298   US-7002299   2020-06-12 Carrillo FB warrant Sealing Order 3-20-
                          70776 767-3
US-7002300   US-7002305   2020-08-07 Justus T-Mobile_SW Returm 20-mj-
                          70924-DMR
US-7002306   US-7002312   2020-08-25 Justus_SW Return_Samsung Device_20-
                          mj-70822-JSC
US-7002313   US-7002319   2020-08-27 Carrillo_SW Return_Device
                          Warrant_20-mj-70777-LB
US-7002320   US-7002325   Google_SW Return_20-70912
US-7002326   US-7002332   Carrillo_T-Mobile SW Return_20-70892
US-7002333   US-7002339   WPD
                                        SW
US-7002340   US-7002341   2020.06.18_Carrillo_SW_Return_2_Acct
US-7002342   US-7002349   2020-06-26 Carrillo FB 20-mj-70776-LB - Warrant
                          returned executed
US-7002350   US-7002351   steve.c.rrillo- SW Return
US-7002352   US-7002370   BESK                                   1st Piggy
                          Back
US-7002371   US-7002420   BESK corrected Expansion Warrant 2
US-7002421   US-7002439   BESK Expansion Warrant 1
US-7002440   US-7002444   Carrillo SW Computer
US-7002445   US-7002448   Cell Phone SW Carrilo
US-7002449   US-7002454   Facebook SW
US-7002455   US-7002494           Carrillo SW on Phones Social Media
                          Computers Phone Numbers

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Beg. Bates   End Bates    General Description of Contents
US-7002495   US-7002500   Snapchat SW
US-7002501   US-7002510   WPD                                     Original
US-7002511   US-7002511           Video SW
US-7002512   US-7002515   OPD SW-510-379-8170
US-7002516   US-7002519   OPD SW-510-915-5320
US-7002520   US-7002528   OPD SW-Aff-510-379-8170
US-7002529   US-7002537   OPD SW-Aff-510-915-5320
US-7002538   US-7002546   OPD SW-Aff-JustusPhone
US-7002547   US-7002555   OPD SW-JustusPhone
US-7002556   US-7002556   OPD SW-SealingOrder
US-7002557   US-7002558   Search Warrant Affidavit
US-7002559   US-7002562   Search Warrant Affidavit
US-7002563   US-7002572   State Tower Dump Warrant
US-7002573   US-7002582   State Tower Dump Warrant
US-7002583   US-7002594   State Tower Dump Warrant
                          800000 Series - Audio/Video
US-800146    US-800146    Call between Robert Justus and
                          File Name: Justice Phone Call.mp3 (Native File)
US-800147    US-800148    911 Calls (2 Native Files)
US-800149    US-800155    CHP Video Footage 6-7-2020                      (7
                          Native Files)
US-800157    US-800159    SCSO Body Cam                (3 Native Files)
US-800160    US-800161    SCSO Body Cam              (3 Native Files)
US-800162    US-800163    SCSO Video re Exit Routes (2 Native Files)
                          90000000 Series – Miscellaneous
US-9000178   US-9000185   Carrillo’s CLETS report
US-9000186   US-9000191   OSI Investigative Target Package re Steven Carrillo
US-9000192   US-9000206   FBI CAST Draft Oakland Shooting Cell Site
                          Timeline
US-9000207   US-9000207   Steven Carrillo DMV Record Photo
US-9000208   US-9000214   UPS Store Rental Agreement Carrillo
US-9000215   US-9000215   Email re FW_SLPD Facebook Comment Justus
US-9000216   US-9000216   Attachment to US-9000215
US-9000217   US-9000218   ACSO Fax Justus re Reports
US-9000219   US-9000219   Email re New Call Request - Robert Justus
US-9000220   US-9000220   FBI Santa Rita Calls Request
US-9000221   US-9000221   SLPD Chain of Custody Justus Phone
US-9000222   US-9000222   Victim 2 - Final Offer Letter - Triple Canopy
                          Employment Agreements
US-9000223   US-9000223                              - Final Offer Letter -
                                         Employment Agreements
US-9000224   US-9000224   Photo
US-9000225   US-9000227   ACCB                Draft Coroner Report
US-9000228   US-9000230   CalVCB Form - Victim 2
                                    6
     Beg. Bates       End Bates       General Description of Contents
     US-9000231       US-9000231      CalVCB Form -
     US-9000232       US-9000232      Email_re_Fairfield_LPR
     US-9000233       US-9000234      Email_re_van_fingerprints
     US-9000235       US-9000236      Email_with_van_VIN
     US-9000237       US-9000237      Ford_email
     US-9000238       US-9000238      Ford_email_2
     US-9000239       US-9000239      OPD-Stored Towed Vehicle Report
     US-9000240       US-9000240      OPD cancel want flyer
     US-9000241       US-9000242      Stolen white Ford Vans 92 to 95_05-20 thru 05-29
                                      1.xlsx (Native File)
     US-9000243       US-9000243      Van                               Registered
                                      Vehicles
     US-9000244       US-9000256      5F91390 LEARN Vehicle Detection Report 6-01-20
     US-9000257       US-9000274      64282C2 LEARN Vehicle Detection Report 6-01-20
     US-9000275       US-9000289      6V49657 LEARN Vehicle Detection Report 6-01-20
     US-9000290       US-9000303      7X79607 LEARN Vehicle Detection Report 6-01-20
     US-9000304       US-9000318      8E11695 LEARN Vehicle Detection Report 6-01-20
     US-9000319       US-9000321      NICRIC LPR hits 1 Jun 20
     US-9000322       US-9000322            Email re LPR attaching US-9000244 through
                                      US-9000322
     US-9000323       US-9000323      Suspect Sketch by PO
     US-9000324       US-9000326      Intentionally Left Blank
     US-9000327       US-9000329      Carrillo Mailbox Package History Report-Reno
     US-9000330       US-9000336      Carrillo UPS Application
     US-9000337       US-9000337      Consent To Search - Big Basin
     US-9000338       US-9000784                     Contract Award
     US-9000785       US-9000785      Email re                    : List of guards


        We note two points about this production. First, as with prior productions, a large portion
of these materials exceed the scope of discovery mandated by the Federal Rules of Criminal
Procedure, federal statute, or relevant case law. We are providing these materials voluntarily and
solely as a matter of discretion. By producing such materials to you, the government does not
waive its right to object to any future discovery requests beyond the ambit of its legal
obligations. We reject any suggestion that the criminal local rules, including Criminal Local
Rule 16-1(c), serve as valid authority for any substantive discovery obligations beyond that
required under the applicable federal statutes and rules (e.g., Rule 16 and Jencks).

       Second, due to the unusually sensitive nature of the videos produced at control numbers
US-800157 through US-800161, we ask that you treat those videos in their entirety as if they are
Protected Information under our Stipulated Protective Order. If you anticipate any issues with
complying with this request, please let us know right away.

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      Please contact me if you have any questions concerning the foregoing.

                                                         Very truly yours,

                                                         DAVID L. ANDERSON
                                                         United States Attorney

                                                          /s/ Philip Kopczynski
                                                         PHILIP KOPCZYNSKI
                                                         Assistant United States Attorney

Encl: USAfx Folder entitled “2020-10-09 Production-Justus”




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